                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:

ANGELA SWORD LEWIS                                            Chapter 7
THOMAS K. LEWIS                                               Case No. 11-44385-wsd
                                                              Hon. Walter Shapero
                Debtors.
                                           /

                               STATEMENT OF CONSENT

       The Office of the United States Trustee hereby has reviewed the Trustee’s Application to
Employ Counsel and does not object to the employment of OSIPOV BIGELMAN, P.C. for the
Chapter 7 Trustee, Timothy J. Miller.


                                                       DANIEL M. McDERMOTT
                                                       UNITED STATES TRUSTEE
                                                       Region 9

June 14, 2011
                                               By:      /s/ Jill M. Gies (P56345)
                                                       jill.gies@usdoj.gov
                                                       Trial Attorney
                                                       Office of the U.S. Trustee
                                                       211 West Fort St - Suite 700
                                                       Detroit, Michigan 48226
                                                       313-226-7954




  11-44385-wsd       Doc 23   Filed 06/14/11         Entered 06/14/11 22:32:46        Page 1 of 1
